EXHIBIT 20
                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 STATE OF CALIFORNIA, et al.,




                            Plaintiffs,
    V.
                                                                           25-12019 -
                                                         Civil Action No.: ----
 ROBERT F. KENNEDY, JR., in his official
 capacity as Secretary of Health and Human
 Services, et al.,




                            Defendants.



                        DECLARATION OF DANIELLE HOLAHAN

   I, Danielle Holahan, declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that the
following is true and correct:
   1. I am the Executive Director at NY State of Health, New York State's Official Health Plan
Marketplace. I hold a Bachelor of Arts from Franklin & Marshall College and a Master of Public
Health (MPH) from Columbia University's Joseph L. Mailman School of Public Health. I have
been employed as Executive Director of NY State of Health since September 2021 after serving
as Deputy Director since April 2011. I worked at the United Hospital Fund of New York from
1999 to 2011, where I was Co-Director of the Health Insurance Project, and from 1994 to 1997 at
AARP's Public Policy Institute in Washington, D.C.
